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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY



IN RE: JOHNSON & JOHNSON                   No. 3:16-md-02738-MAS-RLS
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES,                  [PROPOSED] ORDER GRANTING
AND PRODUCTS LIABILITY                       DEFENDANTS’ MOTION TO
LITIGATION                                   STRIKE THE PLAINTIFFS’
                                             STEERING COMMITTEE’S
This Document Relates To All Cases           SUPPLEMENTAL BRIEF IN
                                             SUPPORT OF ITS OPPOSITION
                                             TO DEFENDANTS’ MOTION TO
                                             EXCLUDE PLAINTIFFS’
                                             EXPERTS’ GENERAL
                                             CAUSATION OPINIONS AND
                                             AFFIDAVIT OF DR. DAVID
                                             MUTCH




       THIS MATTER having been brought before the Court by Defendants

 Johnson & Johnson and LLT Management, LLC (“Defendants”) for an order

 that strikes the Plaintiff’s Steering Committee’s Supplemental Brief in

 Support of Its Opposition to Defendants’ Motion to Exclude Plaintiffs’

 Experts’ General Causation Opinions and affidavit of Dr. David Mutch, or,

 in the alternative, permits Defendants to depose Dr. Mutch about his

 affidavit; and for good cause shown;

      IT IS on this _______ day of ________________________, 2024 hereby
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     ORDERED as follows:

     1.     Defendants’ Motion to Strike the Plaintiff’s Steering

            Committee’s Supplemental Brief in Support of Its Opposition

            to Defendants’ Motion to Exclude Plaintiffs’ Experts’ General

            Causation Opinions and Affidavit of Dr. David Mutch is

            hereby GRANTED; and

     2.     The Plaintiff’s Steering Committee’s Supplemental Brief in

            Support of Its Opposition to Defendants’ Motion to Exclude

            Plaintiffs’ Experts’ General Causation Opinions and the

            affidavit of Dr. David Mutch are hereby stricken.

                         IN THE ALTERNATIVE:

     3.     Defendants are hereby permitted to depose Dr. Mutch on his

            affidavit submitted in connection with the Plaintiff’s Steering

            Committee’s Supplemental Brief in Support of Its Opposition

            to Defendants’ Motion to Exclude Plaintiffs’ Experts’ General

            Causation Opinions.



                                          ___________________________
                                          Hon. Michael A. Shipp, U.S.D.J.




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